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          EXHIBIT 1
        Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 2 of 70 Page ID #:11
Electronically FILED by Superior Court of California, County of Los Angeles on 04/06/2022 02:50 PM Sherri R. Carter, Executive Officer/Clerk of Court, by L. Smith,Deputy Clerk




    1         Bradford G. Hughes, Esq., SBN 247141
              Maryam Danishwar, Esq., SBN 259102
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    3         Los Angeles, CA 90071
              Telephone:    (213) 891-9100
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    6         Attorneys for Defendant BOTTLED SCIENCE INC. d/b/a SKINADE

    7

    8                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

    9                                                                COUNTY OF LOS ANGELES

  10

  11           RICHARD BELL, on behalf of himself and all                                         Case No. 22STCV07754
               others similarly situated, ,
  12                                                                                              DEFENDANT’S ANSWER TO CLASS
                                                             Plaintiff,                           ACTION COMPLAINT FOR DAMAGES
  13
                          v.                                                                      Assigned to: Hon. David S. Cunningham
  14                                                                                              Dept.: 11
               BOTTLED SCIENCE INC. d/b/a SKINADE,
  15           and DOES 1-10, inclusive,                                                          Complaint Filed: March 3, 2022
                                                                                                  Trial Date:      NONE
  16                                                         Defendants.

  17

  18                    Defendant BOTTLED SCIENCE INC. d/b/a SKINADE, (“Defendant”), now answers the Class

  19        Action Complaint for Damages (the “Complaint”) filed by Plaintiff RICHARD BELL, (“Plaintiff”) in

  20        Case Number 22STCV07754 and denies any and all such allegations, and further admits or denies the

  21        specific allegations of the Complaint and states all applicable affirmative defenses, as follows:

  22                                                                       GENERAL DENIAL

  23                    Pursuant to Section 431.30(d) of the Code of Civil Procedure (“C.C.P.”) Defendant denies

  24        generally and specifically each and every allegation in the Complaint. Defendant further denies that

  25        Plaintiff has been damaged in the sum alleged in the Complaint, in any other sum, or at all. Without

  26        assuming the burden of proof as to any matter on which Plaintiffs bear such burden, Defendant alleges

  27        for its defenses as follows:

  28        ///

                                                                                              1
                                         DEFENDANT’S ANSWER TO CLASS ACTION COMPLAINT FOR DAMAGES
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 3 of 70 Page ID #:12



 1                                       FIRST AFFIRMATIVE DEFENSE

 2             1.      Plaintiff’s Complaint fails to state facts sufficient to constitute a cause of action (C.C.P.

 3     § 430.10(e)). The Complaint fails to adequately provide a “statement of facts constituting the cause of

 4     action, in ordinary and concise language.” (C.C.P. § 425.10(a)(1))

 5                                     SECOND AFFIRMATIVE DEFENSE

 6             2.      To the extent applicable, Plaintiff’s claims are barred by the applicable statute of

 7     limitations.

 8                                       THIRD AFFIRMATIVE DEFENSE

 9             3.      To the extent applicable, Plaintiff lacks standing, including but not limited to because

10     Plaintiff cannot represent and protect the interests of the alleged class. Plaintiff is not similarly situated

11     to the other allege class members united by a common interest. (C.C.P. § 382)

12                                     FOURTH AFFIRMATIVE DEFENSE

13             4.      No relief may be obtained under the complaint by reason of the doctrine of unclean

14     hands and by reason of the unconscionability of the Plaintiff's acts and claims to the extent that Plaintiff

15     concealed any alleged violations, failed to notify Defendant of any alleged violation which prevented

16     Defendant from acquiring the requisite knowledge of any violations stated in the Complaint.

17                                       FIFTH AFFIRMATIVE DEFENSE

18             5.      The damages sought by the named Plaintiff in a representative capacity cannot be

19     recovered without specific proof by each alleged class member that each such individual has been

20     injured.

21                                       SIXTH AFFIRMATIVE DEFENSE

22             6.      An award of damages and/or restitution against Defendant without individualized proof

23     of entitlement to damages would violate the due process clauses of the Fifth and Fourteenth

24     Amendments of the United States Constitution.

25                                     SEVENTH AFFIRMATIVE DEFENSE

26             7.      To the extent Plaintiff seeks any relief in a purely representative capacity under Business

27     & Professions Code Section 17200 as to transactions other than their own, such relief is improper in

28     light of the inherently individualized nature of the determination that such transactions were unlawful,
                                                               2
                          DEFENDANT’S ANSWER TO CLASS ACTION COMPLAINT FOR DAMAGES
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 4 of 70 Page ID #:13



 1     unfair and/or fraudulent, and would offend the Due Process Clause of the United States Constitution

 2     and other norms governing this action.

 3                                     EIGHTH AFFIRMATIVE DEFENSE

 4             8.      Plaintiff failed to take reasonable steps to protect themselves from the damage alleged

 5     in the Complaint and have failed to mitigate any such alleged damage.

 6                                      NINTH AFFIRMATIVE DEFENSE

 7             9.      The Complaint is barred by the doctrines of waiver, estoppel, consent, and ratification

 8     because Plaintiff was aware of and thereafter consented to, and ratified and/or benefited from, the

 9     conduct of which they now complain and are thus precluded from maintaining this action.

10                                      TENTH AFFIRMATIVE DEFENSE

11             10.     The Complaint is barred by accord and satisfaction by virtue of Plaintiffs' acceptance

12     and retention of benefits from the conduct alleged in the Complaint.

13                                   ELEVENTH AFFIRMATIVE DEFENSE

14             11.     The Complaint is barred by Plaintiffs' knowing and voluntary payment of the sums in

15     dispute.

16                                    TWELFTH AFFIRMATIVE DEFENSE

17             12.     Plaintiffs lack standing to seek injunctive and/or declaratory relief.

18                                  THIRTEENTH AFFIRMATIVE DEFENSE

19             13.     Plaintiffs are not entitled to injunctive and/or declaratory relief because they have an

20     adequate remedy at law.

21                                 FOURTEENTH AFFIRMATIVE DEFENSE

22             14.       Claims of putative class members are barred by some or all of the defenses that bar

23     Plaintiffs' claims.

24                                   FIFTEENTH AFFIRMATIVE DEFENSE

25             15.     The Complaint is uncertain to the extent that Plaintiff failed to adequately define the

26     proposed class.

27                                   SIXTEENTH AFFIRMATIVE DEFENSE

28             16.       Claims of some putative class members may be barred by setoff and/or recoupment.
                                                              3
                             DEFENDANT’S ANSWER TO CLASS ACTION COMPLAINT FOR DAMAGES
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 5 of 70 Page ID #:14



 1                                SEVENTEENTH AFFIRMATIVE DEFENSE

 2            17.      Plaintiff and the members of the purported class have not sustained the required injury

 3     in fact and/or lost the requisite money or property necessary to confer standing pursuant to California

 4     Business & Professions Code sections 17200, et seq.

 5                                 EIGHTEENTH AFFIRMATIVE DEFENSE

 6            18.      Plaintiff’s claims, and those of the purported class, are barred because this action is not

 7     properly maintainable as a class action as alleged by Plaintiff.

 8                                 NINETEENTH AFFIRMATIVE DEFENSE

 9            19.      Plaintiff's claims, and those of the purported class, are barred, in whole or in part,

10     because Plaintiff is not a proper class representative.

11                                  TWENTIETH AFFIRMATIVE DEFENSE

12            20.     The Complaint and each of its purported causes of action are barred, in whole or in

13     part, because the alleged matters complained of were fully and adequately disclosed to Plaintiff and

14     the members of the purported class.

15                                TWENTY-FIRST AFFIRMATIVE DEFENSE

16            21.     Defendant reserves the right to assert further affirmative defenses as they become

17     known through discover or investigation.

18            WHEREFORE, Defendant hereby prays that this Court:

19            1.      Dismiss Plaintiff’s Complaint;

20            2.      Grant Plaintiff and the alleged class action nothing by way of their Complaint;

21            3.      Award Defendant its reasonable costs and attorney fees incurred herein; and,

22            4.      Enter judgment in favor of Defendant; and

23            5.      Grant such other and further relief as this Court deems just and proper.

24
        Dated: April 6, 2022                              CLARK HILL LLP
25
                                                          By:
26                                                               Bradford G. Hughes
                                                                 Maryam Danishwar
27                                                        Attorneys for Defendant BOTTLED SCIENCE INC.
                                                          d/b/a SKINADE
28
                                                                 4
                          DEFENDANT’S ANSWER TO CLASS ACTION COMPLAINT FOR DAMAGES
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 6 of 70 Page ID #:15



 1                                             PROOF OF SERVICE
               I am a citizen of the United States and resident of the State of California. I am employed in
 2     Los Angeles, State of California, in the office of a member of the bar of this Court, at whose direction
       the service was made. I am over the age of eighteen years and not a party to the within action.
 3
              On April 6, 2022, I served the following documents in the manner described below:
 4
       DEFENDANT’S ANSWER TO CLASS ACTION COMPLAINT FOR DAMAGES
 5
                 (BY U.S. MAIL) I am personally and readily familiar with the business practice of
 6              Clark Hill LLP for collection and processing of correspondence for mailing with the
                 United States Parcel Service, and I caused such envelope(s) with postage thereon fully
 7               prepaid to be placed in the United States Postal Service at Los Angeles, California.
 8               (BY OVERNIGHT MAIL) I am personally and readily familiar with the business
                practice of Clark Hill LLP for collection and processing of correspondence for overnight
 9               delivery, and I caused such document(s) described herein to be deposited for delivery to
                 a facility regularly maintained by Federal Express for overnight delivery.
10
                 BY ELECTRONIC SERVICE: By electronically mailing a true and correct copy
11              through Clark Hill LLP’s electronic mail system from mdanishwar@ClarkHill.com to
                 the email addresses set forth below.
12
                 (BY PERSONAL DELIVERY) I caused such envelope to be delivered by hand to the
13              offices of each addressee below.
14
       On the following part(ies) in this action:
15
        Evan J. Smith, Esq.                                Email: esmith@brodskysmith.com
16      Ryan P. Cardona, Esq.                              rcardona@brodskysmith.com
        Brodsky Smith
17      9595 Wilshire Blvd., Suite 900                     Attorneys for Plaintiff
        Beverly Hills, CA 90212
18      Tel: (877) 534-2590
        Fax: (310) 247-0160
19
                I declare under penalty of perjury under the laws of the State of California that the foregoing
20     is true and correct.
21            Executed on April 6, 2022, at Los Angeles, California.
22

23                j
       _______________________________________
                 Hiba Hammad
24

25

26

27

28
                                                              5
                          DEFENDANT’S ANSWER TO CLASS ACTION COMPLAINT FOR DAMAGES
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 7 of 70 Page ID #:16



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        Maryam Danishwar, Esq., SBN 259102
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        Telephone:    (213) 891-9100
 4      Facsimile:    (213) 488-1178
        bhughes@ClarkHill.com
 5      mdanishwar@ClarkHill.com

 6      Attorneys for Defendant BOTTLED SCIENCE INC. d/b/a SKINADE

 7

 8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                          COUNTY OF LOS ANGELES

10

11      RICHARD BELL, on behalf of himself and all            Case No. 22STCV07754
        others similarly situated,
12                                                            DEFENDANT’S NOTICE OF REMOVAL
                                      Plaintiff,              PURSUANT TO 28 U.S.C. §§1332 AND 1441;
13                                                            DECLARATION OF MARYAM
                v.                                            DANISHWAR
14
        BOTTLED SCIENCE INC. d/b/a SKINADE,                   Assigned to: Hon. David S. Cunningham
15      and DOES 1-10, inclusive,                             Dept.: 11

16                                    Defendants.             Complaint Filed: March 3, 2022
                                                              Trial Date:      NONE
17

18            TO THE COURT, PLAINTIFF, AND ITS COUNSEL OF RECORD:

19            PLEASE TAKE NOTICE that defendant BOTTLED SCIENCE INC. d/b/a SKINADE

20     (“Defendant”) hereby remove the above-entitled civil action from the Superior Court of California, for

21     the County of Los Angeles, to the United States District Court for the Central District of California,

22     Eastern Division, pursuant to 28 U.S.C. §§ 1332 and 1441. Removal is proper because complete

23     diversity of citizenship exists between plaintiff RICHARD BELL (“Plaintiff”), on one hand, and

24     Defendant on the other hand, and the amount in controversy exceeds the sum of $75,000, exclusive of

25     interest and costs. In support of this Notice of Removal, Defendant further state:

26            I.      BACKGROUND

27            1.      On March 3, 2022, Plaintiff filed a complaint (“Complaint”) in the Superior Court of

28     California for the County of Los Angeles, entitled “Richard Bell, on behalf of himself and all others
                                                           1
            DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§1332 AND 1441; DECLARATION OF
                                         MARYAM DANISHWAR
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 8 of 70 Page ID #:17



 1     similarly situated, v. Bottled Science, Inc. dba Skinade, et al.,” designated as Case Number

 2     22STCV07754. By way of the Complaint, Plaintiff alleges claims for violations of California’s Unfair

 3     Competition Law (Business and Professions Code §§ 17200, et seq.)

 4             2.      On March 7, 2020, Plaintiff served Bottled Science, Inc. with the Complaint. A true

 5     and correct copy of the Summons, Complaint, and Certificate of Assignment are attached to the

 6     Declaration of Maryam Danishwar as Exhibit 1.

 7             II.     TIMELINESS OF REMOVAL

 8             3.      This Notice of Removal is timely because it is being filed within thirty days of Plaintiff’s

 9     service of the Complaint, and within one year of the commencement of this action pursuant to 28 U.S.C.

10     § 1446(b). (See Declaration of Maryam Danishwar [“Danishwar Decl.”], Ex. 1, Plaintiff’s Complaint.)

11             III.    PROCEEDINGS IN STATE COURT

12             4.      As of the date of filing this Notice of Removal, there are no pending hearings before the

13     Superior Court of California for the County of Los Angeles with respect to the state court action, other

14     than the Initial Status Conference, which is set for April 7, 2022. (Danishwar Decl., ¶ 5.)

15             IV.     JURISDICTION BASED ON DIVERSITY OF CITIZENSHIP

16             5.      The Court has original jurisdiction of this action under 28 U.S.C. § 1332. As described

17     in further detail below, this action is removable pursuant to the provisions of 28 U.S.C. § 1441(b) in

18     that it is a civil action between citizens of different states and the matter in controversy exceeds the

19     sum of $75,000, exclusive of interests and costs.

20             A.      Complete Diversity Exists Between Plaintiffs and Defendant

21             6.      Plaintiff Richard Bell is a citizen of California. For purposes of removal, a natural

22     person is considered a citizen of the state of domicile. Kantor v. Wellesley Galleries, Ltd, 704 F.2d

23     1088, 1090 (9th Cir. 1983). On information and belief, Plaintiff is and was at time of filing this action

24     a citizen of the state of California.

25             7.      Defendant Bottled Science, Inc., is a citizen of Delaware with its principal place of

26     business in Virginia. A corporation is deemed a citizen of every state in which it is incorporated and

27     has its principal place of business. 28 U.S.C. § 1332(c)(1). Sharp is, was, and at all times relevant, has

28     been a corporation incorporated under the laws of the state of Wyoming. (Danishwar Decl., ¶ 6.)
                                                         2
             DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§1332 AND 1441; DECLARATION OF
                                          MARYAM DANISHWAR
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 9 of 70 Page ID #:18



 1     Although BOTTLED SCIENCE INC. is authorized to conduct business in the state of California, its

 2     principal place of business is in Virginia. (Danishwar Dec., ¶ 6.)

 3            8.      Citizenship of DOE defendants are disregarded.          The residence of fictitious and

 4     unknown defendants should be disregarded for purposes of establishing removal jurisdiction under 28

 5     U.S.C. § 1332. See 28 U.S.C. § 1441(b) (1) (stating, “[i]n determining whether a civil action is

 6     removable on the basis of the jurisdiction under section 1332(a) of this title, the citizenship of

 7     defendants sued under fictitious names shall be disregarded”). The existence of DOE defendants 1

 8     through 10 does not deprive this Court of jurisdiction.

 9            9.      Because Plaintiff is a citizen of the state of California and Defendant is a citizen of

10     Delaware, complete diversity between the parties exists.

11            B.      The Amount in Controversy Exceeds $75,000

12            10.     While Defendant denies liability as to Plaintiff’s claims, the amount in controversy

13     requirement is satisfied because “it is more likely than not” that the amount exceeds the jurisdictional

14     minimum of $75,000. See Sanchez v. Monumental Life Ins., 102 F.3d 398, 403-404 (9th Cir. 1996)

15     (finding the defendant must plead “that it is ‘more likely than not’ that the amount in controversy

16     exceeds [the threshold] amount” (internal quotations and citations omitted)).

17            11.     As the Ninth Circuit explains, “the amount-in-controversy inquiry in the removal

18     context is not confined to the face of the complaint.” Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117

19     (9th Cir. 2004). In order to establish the amount in controversy, a defendant may state underlying facts

20     supporting its assertion that the amount exceeds the jurisdictional threshold. Gaus v. Miles, Inc., 980

21     F.2d 564, 566-567 (9th Cir. 1992).

22            12.     In determining the amount in controversy, a court must consider the aggregate of general

23     damages, special damages, punitive damages, and attorneys’ fees. Conrad Assocs. v. Hartford Accident

24     & Indemnity Co., 994 F.Supp. 1196, 1198 (N.D. Cal. 1998).

25            13.     Plaintiff’s Complaint alleges damages on behalf of himself and a class of members he

26     contends are similarly situated. Plaintiff’s Complaint alleges that Plaintiff and similarly situated Class

27     members are entitled to enforce all applicable penalty provisions pursuant to Cal. Bus. & Prof. Code §

28     17202, and to obtain injunctive relief pursuant to Cal. Bus. & Prof. Code § 17203. (Danishwar Decl.,
                                                             3
            DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§1332 AND 1441; DECLARATION OF
                                         MARYAM DANISHWAR
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 1   ¶ 3, Ex. 1, Complaint p. 16.) Plaintiff’s prayer for damages includes a preliminary and permanent

 2   injunction, damages and reasonable attorneys' fees and costs and other expenses of suit pursuant to

 3   California Code of Civil Procedure § 1021.5, and/or other applicable law. (Danishwar Decl., ¶ 3, Ex.

 4   1, Complaint p. 16.) Because Plaintiff has failed to specifically allege his damages, Defendant is forced

 5   to rely on external facts to support their assertion that the amount exceeds the jurisdictional threshold.

 6   See Gaus v. Miles, Inc., 980 F.2d 564, 566-567 (9th Cir. 1992).

 7          V.       VENUE

 8          14.      Without waiving Defendant’s right to challenge, among other things, personal

 9   jurisdiction by way of motion, responsive pleadings, or otherwise, venue for this removed action lies

10   in the Central District of California pursuant to 28 U.S.C. §§ 1441, 1446(a), and 84(c). Plaintiff brought

11   this action in the Superior Court of the State of California, County of San Bernardino, which is located

12   within the Central District of the State of California. Venue is proper in this Court because it is the

13   “district and division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

14          VI.      SERVICE OF NOTICE OF REMOVAL ON PLAINTIFFS AND THE CLERK

15   OF THE SUPERIOR COURT

16          15.      Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of Removal

17   will be promptly served on Plaintiff and, together with a copy of the Notice of Removal, will be filed

18   with the Clerk of the Superior Court of the State of California, County of San Bernardino, in the state

19   court action.

20          16.      This Notice of Removal will be served on counsel for Plaintiff. A copy of the Proof of

21   Service regarding the Notice of Removal will be filed shortly after those papers are filed and served.

22          17.      In compliance with 28 U.S.C. § 1446(a), true and correct copies of all process,

23   pleadings, and orders filed and/or served in this action are attached to the Danishwar Declaration as

24   Exhibit 1.

25          VII.     PRAYER FOR REMOVAL

26          18.      WHEREFORE, Defendant files this Notice of Removal of this action from the Superior

27   Court of the State of California, County of San Bernardino, in which it is now pending, to the United

28   States District Court for the Central District of California, Eastern Division.
                                                             4
          DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§1332 AND 1441; DECLARATION OF
                                       MARYAM DANISHWAR
 Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 11 of 70 Page ID #:20



 1             19.   Defendant hereby requests that this Court exercise jurisdiction over all further

 2   proceedings in this action.

 3             20.   Defendant hereby provides notice of and demand a jury trial in the above-captioned

 4   matter.

 5

 6    Dated: April 6, 2022                            CLARK HILL LLP
 7

 8                                                    By:
                                                             Bradford G. Hughes
 9                                                           Maryam Danishwar
                                                      Attorneys for Defendant BOTTLED SCIENCE INC.
10                                                    d/b/a SKINADE
11

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          DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§1332 AND 1441; DECLARATION OF
                                       MARYAM DANISHWAR
 Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 12 of 70 Page ID #:21



 1                             DECLARATION OF MARYAM DANISHWAR

 2          I, Maryam Danishwar, declare as follows:

 3          1.      I am an attorney at law, duly licensed to practice before the courts of the State of

 4   California. I am an associate with the law firm of Clark Hill LLP, attorneys of record for defendant

 5   BOTTLED SCIENCE INC. d/b/a SKINADE (“Defendant”).

 6          2.      I submit this declaration in support of Defendant’s Notice of Removal Pursuant to 28

 7   U.S.C. §§ 1332 and 1441. I have personal knowledge of the facts stated herein and could and would

 8   testify competently thereto if called as a witness in this matter.

 9          3.      On March 7, 2022, plaintiff Richard Bell (“Plaintiff”) served Defendant with the

10   complaint filed in the Superior Court of California for the County of Los Angeles, entitled “Richard

11   Bell, on behalf of himself and all others similarly situated, v. Bottled Science, Inc. dba Skinade, et al.”

12   (“Complaint”). A true and correct copy of the Summons, Complaint, Statement of Damages, and all

13   pleadings served on Defendant is attached to this Declaration as Exhibit 1.

14          4.      The Complaint alleges claims for violations of California’s Unfair Competition Law

15   (Business and Professions Code §§ 17200, et seq.)

16          5.      As of the date of filing this Notice of Removal, there are no pending hearings before the

17   Superior Court of California for the County of Los Angeles with respect to the state court action, other

18   than the Initial Status Conference, which is set for April 6, 2022.

19          6.      BOTTLED SCIENCE INC. d/b/a SKINADE was, is, and at all times relevant, has been

20   a corporation incorporated under the laws of the state of Delaware with its principal place of business

21   in Virginia.

22                  I declare under penalty of perjury under the laws of the state of California that the

23   foregoing is true and correct.

24          Executed on April 6, 2022, at Los Angeles, California.

25

26
                                                    Maryam Danishwar
27

28
                                                            6
           DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§1332 AND 1441; DECLARATION OF
                                        MARYAM DANISHWAR
Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 13 of 70 Page ID #:22




          EXHIBIT 1
  Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 14 of 70 Page ID #:23


                                                                 Wolters Kluwer

                        PROCESS SERVER DELIVERY DETAILS




Date:                     Mon, Mar 7, 2022

Server Name:              Jimmy Lizama




Entity Served             BOTTLED SCIENCE INC.                                '

Case Number               22STCV07754

J urisdiction             CA




        II I I I I IH11
          Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 15 of 70 Page ID #:24
                                          22STCV07754
Electronically FILED by Superior Court of California, County of Los Angeles on 03/03/2022 02:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk
                                                                                                                                                                  SUM-100
                                                  SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                                 (SOLO PARA USO DE LA CORTE)
                         (CITACION JUDICIAL)
       NOTICE TO DEFENDANT:
      (AVISO AL DEMANDADO):
       BOTTLED SCIENCE INC. dibia SKINADE,and DOES 1-10,
       inclusive,
       YOU ARE BEING SUED BY PLAINTIFF:
      (LO ESTA DEMANDANDO EL DEMANDANTE):
        RICHARD BELL,on behalf of himself and all others similarly situated,.

          NOTICEI You have been sued. The court may decide against you without your being heard unless you rospond within 30 days. Read the information
          below.
             You'havi30 CALENDAR DAYS after this summons and legal papers are served on you to file a viritten response at this court and have a copy
          served on the plaintiff. A letter or phone call will not protect you Your written response must be in proper legal form if you want the court to hear your
        .,OaSi;;ThareinaY bfia dart fOrtif that iiiii"Cati-tise for. your response You can find these court forms and More Information at the California Courts
         Online Self Help Center (iyww.courlinfo‘ce:goviselfhelp);Yolii,zeitinti law library or the'cotirthchise.neirest Ye-01f you cannot pair the Mind fee; ask
          the court -clerk for a fee waiver form If You do netfiie your response on One,You may lose             oeie by default and your i",ages, Money, and Property
        May be taken without further Warning from the court
              TheiiireOthir:legal requirements You may want to call an attorney right away If you do net know an attorney;- you may.want to call an attorney
          referral servicie:'If you canhot afford an attorney,' you maibe'eligible for free legal services frOin-l'hOh-profit legal s' ervices program;You can locate
          these nonprofit groups at the California Legal SerViCeiWatieite.(i/WW./eWhelocalifOrrila.org):the California Courts Online Sell Help Center
                         fO.ci.goviselihel6);or by Contacting your local court or county/ barassociation. NOTE The catirt hisiitatutofy lien for waived fees and
         coits-oneny settlement orarbitration.awaktof$:10,000,or More in a civil case'. The court's lien muit be Paid before the court will dismiss the Case;
        /A VISO!Lo handimandado. SI no ieip;inde dedtro de 30 dies, to code puede decidir on su contra sin escuchar su versien. Lea la informacien a
        continuadidmt
             Trene 30 DIAS DE CALENDARIO despues de quo le entreguen esta diadem y papeles legates pare presenter una respuesta por escrito en esta
        code y hacer quo se entregue una copia al demandante. Una carte o una liamada telefenica no to protegen. Su respuesta por escdto Gene quo ester
        err(I:inhale /600/:ceericto sideSaii4irilireeisaii'ltiiairieri Code..ES6osible quo Hoye un formulario quo usted pueda user pare su respuesta.
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        colegiorde ibOgadaS locales. AVISO. kir ley, la code hone direcho a reelamar las cuotas y los costos exentos por imponer un gravamen sobre
        cualquier recuperacion de $10,0006 mas de valor recibida mediante un acuerdo o una concesian de arbitrate en un caso do derecho civil. Tiene quo
        pager el gravamen de to code antes de quo la carte pueda desechar el caso.
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      The name and address of the court Is:                                                                            CASE NUMBER:        —
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     (El nombre y direccion de la code es):
       Superior Court of California - Los Angeles County                                                                 22STOV07754
       111 N. Hill St., Los Angeles, CA 90012
     The name,address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
     (El nombre, la direccion ye!netmero de telefono del abogado del demandante, o del demandante qua no tiene abogado, es):
       Evan Smith(242352)Brodsky Smith,9595 Wilshire Blvd:, Ste 900, Beverly Hills, CA 90212 877-534-2590
                                                  Sherri R. Carter Executive Officer I Clerlo3f Court
      DATE:                                                               Clerk, by                                                                                , Deputy
     (Fecha)            03/03/2022            ,                                   _•
                                                                          (Secretario)     --- R. Lozano                                                           (Adjunto)
     (For proofofservice of this summons, use Proof of Service of Summons(form P05-010).)
     (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
                                     1. 1.--1 as an individual defendant.
                                     2.           r--1
                                               as the person sued under the fictitious name of(specify)


                                              3. XI on behalf of (specify):            BOTTLED SCIENCE INC. d/b/a SKINADE
                                                   under:[X] CCP 416.10 (corporation)                                  ni
                                                                                                          CCP 416.60(minor)
                                                         El CCP 416.20 (defunct corporation)        ,n1 CCP 416.70 (conservatee)
                                                           1--1
                                                             CCP 416.40 (association or partnership) -
                                                                                                     I 1' CCP 416.90 (authorized person)
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                                                      _=); other (specify):
                                              4. ED by personal delivery on (date):
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       Form Adoptod for Mandatory Use
         Judicial Council of California
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            Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 16 of 70 Page ID #:25
                                            22STCV07754
                                   Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: David Cunningham
Electronically   LED by Superior Court of California, County of Los Angeles on 03/03/2022 02:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Dep ty Clerk


           1
                  Evan J. Smith, Esquire(SBN 242352)
          2       Ryan P. Cardona, Esquire(SBN 302113)
                  BRODSKY SMITH
          3       9595 Wilshire Blvd., Ste. 900
                  Beverly Hills, CA 90212
          4       Telephone: (877)534-2590
                  Facsimile:(310)247-0160
          5
                  Attorneysfor Plaintiff
          6

          7
                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
          8
                                                                   COUNTY OF LOS ANGELES
          9

         10       RICHARD BELL,on behalf of himself                                     Case No.: 22ST CV 07754
                  and all others similarly situated,
         11                                                                             CLASS ACTION COMPLAINT FOR:
                                                        Plaintiff,
         12                                                                               1. VIOLATIONS OF CALIFORNIA'S
                                          VS.                                                UNFAIR COMPETITION LAW (BUSINESS
         13                                                                                  AND PROFESSIONS CODE §§ 17200 et
                  BOTTLED SCIENCE INC. d/b/a                                                 seq.)
         14       SKINADE,and DOES 1-10, inclusive,
                                                                                        JURY TRIAL DEMANDED
         15                                             Defendants.
         16
                            Plaintiff Richard Bell ("Plaintiff'), by and through his attorneys, alleges the following
         17
                 based upon personal knowledge as to his own acts, and upon information and belief and his
         18
                 attorneys' investigation as to all other facts.
         19
                            1.         Plaintiff, on behalf ofhimselfand on behalfofa Class(defined herein)ofCalifornia
        20
                 citizens who purchased subscriptions for products (such as skincare oral supplement drinks and
        21
                 other skin health items) from defendant Bottled Science Inc. d/b/a Skina.de ("Skinade" or the
        22
                 "Defendant"), brings this class action complaint for violations of California's Unfair Competition
        23
                 Law, Bus. & Prof. Code §§ 17200 et seq. (the "UCL") based upon Skinade's violations of
        24
                 California's Automatic Renewal Law,Bus & Prof. Code §§ 17600 et seq.(the "ARL"). The Class
        25
                 includes all California citizens who purchased product subscriptions from Slcinade within the
        26
                 applicable statute of limitations period up to and include the date ofjudgment in this action (the
        27

        28


                                                                                  -1-
                                                                               COMPLAINT
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 1   "Relevant Period"). Plaintiff and Class members are consumers for purposes of Cal. Bus. & Prof.

 2 Code §§ 17600 - 17606.

 3          2.     During the Relevant Period, Skinade made automatic renewal or continuous service

 4 offers to consumers in California and (i)its website failed to contain automatic renewal offer terms

 5 and/or contained automatic renewal offer.terms that were not clearly and conspicuously disclosed

 6 to users in violation of Cal Bus. & Prof. Code § 17601(c);(ii) at the time of making the automatic

 7 renewal or continuous service offers, failed to present the terms of said offers in a clear and

 8 conspicuous manner and in visual proximity to the request for consent to the offer before the

 9 subscription or purchasing agreement was fulfilled in violation of Cal. Bus. & Prof Code §

10 17602(a)(1); (iii) charged Plaintiff's and Class member's credit or debit cards, or third-party

11   account (the "Payment Method(s)") without first obtaining Plaintiff's and Class members'

12 affirmative consent to the agreement containing the automatic renewal offer terms or continuous

13 service offer terms in violation of Cal. Bus. & Prof. Code § 17602(a)(2); and (iv)failed to provide

14 an acknowledgment that includes the automatic renewal or continuous service offer terms,

15 cancellation policy, information regarding how to cancel, in a manner that is capable of being

16 retained by the consumer in violation of Cal. Bus. & Prof. Code §§ 17602(a)(3), 17602(b). As a

17 result ofsuch violations by Defendants, all goods, wares, merchandise, or products sent to Plaintiff

18 and Class Members under the automatic renewal or continuous service agreements are deemed to

19 be an unconditional gift pursuant to Cal. Bus. & Prof. Code § 17603.

20        - 3.     Plaintiff, on behalf of himself and the Class, declaratory relief, injunctive relief,

21 reasonable attorneys' fees, and any other relief that this Court deems necessary,just, proper, and

22 appropriate pursuant to Cal. Bus. & Prof Code, §§ 1603, 17203, 17204, and Cal. Code. Civ. Pro.

23 § 1021.5.

24                                  STATUTORY BACKGROUND

25          4.     As of December 1, 2010, the ARL has been in effect in California.               The

26 Legislature's stated intent for enacting the ARL was "to end the practice of ongoing' charging of

27 consumer credit or debit cards or third party payment accounts without the consumers' explicit

28


                                                 - 2-
                                              COMPLAINT
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 1 consent for ongoing shipments of a product or ongoing deliveries of service." Cal. Bus. & Prof.

 2 Code § 17600.

 3           5.     The ARL makes it unlawful for any business making an automatic renewal or

 4 continuous service offer to a consumer in California to do any of the following:

 5                 (a)(1) Fail to present the automatic renewal offer terms or
                    continuous service offer terms in a clear and conspicuous manner
 6                  before the subscription or purchasing agreement is fulfilled and in
                    visual proximity, or•in the case of an offer conveyed by voice, in
 7
                    temporal proximity, to the request for consent to the offer. If the
 8                  offer also includes a free gift or trial, the offer shall include a clear
                    and conspicuous explanation of the price that will be charged after
 9                  the trial ends or the manner in which the subscription or purchasing
                    agreement pricing will change upon conclusion of the trial;
10
                   (a)(2) Charge the consumer's credit or debit card, or the
11
                    consumer's account with a third party for an automatic renewal or
12                  continuous service without first obtaining the .consumer's
                    affirmative consent to the agreement containing the automatic
13                  renewal offer terms or continuous service offer terms, including the
                    terms of an automatic renewal offer or continuous service offer that
14                  is made at a promotional or discounted price for a limited period of
15                  time; or

16                 (a)(3) Fail to provide an acknowledgment that includes the
                    automatic renewal offer terms or continuous service offer terms,
17                  cancellation policy, and information regarding how to cancel in a
                    manner that is capable of being retained by the consumer. If the
18                  automatic renewal offer or continuous service offer includes a free
19                  gift or trial, the business shall also disclose in the acknowledgment
                    how to cancel, and allow the consumer to cancel, the automatic
20                  renewal or continuous service before the consumer pays for the
                    goods or services.
21
     See, Cal. Bus. & Prof. Code § 17602(a).
22
            6.      The ARL defines the term "Automatic Renewal" as "a plan or arrangement in
23
     which a paid subscription or purchasing agreement is automatically renewed at the end ofa definite
24
     'term for a subsequent term." See, Cal. Bus. & Prof. Code § 17601(a).
25
             7.     The ARL defines the term "Automatic renewal offer terms" as the "following clear
26
     and conspicuous disclosures":
27
                   (a)      That the subscription or purchasing agreement will continue
28                  until the consumer cancels;

                                                   -3-
                                                COMPLAINT
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 1
                    (b)    The description of the cancellation policy that applies to the
 2                  offer;
 3
                   (c)      The recurring charges that will be charged to the consumer's
 4                  credit or debit card or payment account with a third party as part of
                    the automatic renewal plan or arrangement, and that the amount of
 5                  the charge may change, if that is the case, and the -amount to which
                    the charge will change, if known;
 6
                   (d)     The length of the automatic renewal term or that the service
 7
                    is continuous, unless the length of the term is chosen by the
 8                  consumer; and

 9                 (e)      The minimum purchase obligation, if any.
10 See, Cal. Bus. & Prof. Code § 17601(b).

11          8.      The ARL defines "clear and conspicuous" or "clearly and conspicuously" to mean,
12 "in larger type than the surrounding text, or in contrasting typ-e, font, or color to the surrounding

13 text of the same size, or set off from the surrounding text of the same size by symbols or other

14 marks, in a manner that clearly calls attention to the language." See, Cal. Bus. & Prof. Code §

15 17601(c).

16          9.      The ARL mandates that such services shall be made readily cancellable by
17 consumers, specifically stating,"A business that makes an automatic renewal offer or continuous

18 service offer shall provide a toll-free telephone number, electronic mail address, a postal address

19 ifthe seller directly bills the consumer, or it shall provide another cost-effective, timely, and easy-

20 to-use mechanism for cancellation that shall be described in the acknowledgment specified in

21   paragraph (3)of subdivision (a)." See, Cal. Bus. & Prof. Code §17602(b).
22          10.     Furthermore, the ARL mandates that, "In addition to the requirements of
23 subdivision (b), a consumer who accepts an automatic renewal or continuous service offer online

24 shall be allowed to terminate the automatic renewal or continuous service exclusively online,

25 which may include a termination email formatted and provided by the business that a consumer

26 can send to the business without additional information." See, Cal. Bus.& Prof. Code § 17602(c).

27          1 1.    Pursuant to § 17603 of Cal. Bus. & Prof Code,"In any case in which a business
28 sends any goods, wares, merchandise, or products to a consumer, under a continuous service


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                                               COMPLAINT
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 1 agreement or automatic renewal of a purchase, without first obtaining the consumers affirmative

 2 consent as described in § 17602,the goods, wares, merchandise, or products shall for all purposes

 3 be deemed an unconditional gift to the consumer, who may use or dispose of the same in any

 4 manner he or he sees fit without any obligation whatsoever on the consumer's part to the business,

 5 including, but not limited to, bearing the cost of, or responsibility for, shipping any goods, wares,

 6 merchandise, or products to the business."

 7                                    PARTIES AND STANDING
 8          12.    Plaintiff is a citizen of California. Plaintiff purchased a subscription plan from

 9 Skinade's website and subscription skincare oral supplement drink product delivery service,
10 us.skinade.com, in California during the Relevant Period. Plaintiff and Class Members are

1 1 consumers as defined under Cal. Bus. & Prof Code § 17601(d).
12          13.    Plaintiff is informed and believes, and thereon alleges, that defendant Bottled
13 Science Inc. d/b/a Skinade is a Delaware Corporation with its principal place of business located

14 in Virginia.

15          14.    Plaintiff is informed and believes, and thereon alleges, that defendant Skinade

16 owns, operates, and provides to the public in California, the United States, and elsewhere,

17 us.skinade.com, and has done so throughout the Relevant Period. The website us.skinade.com

18 provides access to a monthly subscription skincare oral supplement drink subscription delivery
19 service. During the Relevant Period Defendant made, and continues to make, automatic renewal

20 or continuous service offers to consumers in California. Skinade's automatic renewal and/or

21 continuous service plan is marketed and known as "Skinade".

22          15.    At all relevant times, each and every defendant was acting as an agent and/or
23 employee of each of the other defendants and was acting within the course and/or scope of said

24 agency and/or employment with the full knowledge and consent of each of the defendants. Each

25 of the acts and/or omissions complained of herein were alleged and made known to, and ratified

26 by, each of the other defendants (Skinade and DOE Defendants will hereafter collectively be

27 referred to as "Defendants").

28


                                                 - -
                                              COMPLAINT
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 1           16.    The true name and capacities ofthe Defendants sued herein as DOES 1 through 10,

 2 inclusive, are currently unknown to Plaintiff, who therefore sues such Defendants by fictitious

 3 names. Each ofthe Defendants designated herein as a DOE is legally responsible for the unlawful

 4 acts alleged herein. Plaintiff will seek leave of Court to amend this Complaint to reflect the true

 5 names and capacities of the DOE Defendants when such identities become known.

 6                                   JURISDICTION AND VENUE

 7           17.    This Court has subject matter jurisdiction over this action. This Court has personal

 8 jurisdiction over Defendants because they conducted and continue to conduct substantial business

 9 in the State of California, County of Los Angeles, and Defendant's offending website is available

10 across California.

11           18.    Venue is proper in this Court because Defendants conduct substantial business in

1,2 this County. Venue is also ,proper in this Court because a substantial portion of the misconduct

13 alleged herein occurred in the County of Los Angeles, including the purchase of the Product by

14 Plaintiff who is a resident of the County of Los Angeles.

15                                 CLASS ACTION ALLEGATIONS

16           19.    Class actions are certified when the question is one ofa common or general interest,

17 of many persons, or when the parties are numerous, and it is impracticable to bring them all before

18 the court. Cal. Civ. Proc. Code § 382. The California Supreme Court has stated that a class should

19 be certified when the party seeking certification has demonstrated the existence of a "well-defined

20 community ofinterest" among the members of the proposed class. Richmond v. Dart Indus., Inc.,

21 29 Ca1.3d 462, 470(1981); see also Daar v. Yellow Cab,Co., 67 Ca1.2d 695, 704 (1967).

22          20.     Class actions are especially valuable in a context such as this one, in which

23 individual relief may be modest. It is well settled that a plaintiffneed not prove the merits of the

24 action at the class certification stage.

25          21.     Rather, the decision of whether to certify a class is "essentially a procedural one"

26 and the appropriate analysis is whether, assuming the merits of the claims, they are suitable for

27
     resolution on a class-wide basis:
28


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                                              COMPLAINT
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 1          As the focus in a certification dispute is on what types of questions common or
            individual are likely to arise in the action, rather than on the merits of the case, in
 2          determining whether there is substantial evidence to support a trial court's
            certification order, we consider whether the theory of recovery advanced by the
 3
            proponents of certification is, as an analytical matter, likely to prove amenable to
 4          class treatment.

 5 Say-On Drug Stores, Inc. v. Superior Court, 34 Ca1.4th 319, 327(2004)(citations omitted).

 6          22.    In addition, the assessment of suitability for class certification entails addressing

 7 whether a class action is superior to individual lawsuits or alternative procedures for resolving the

 8 controversy.     Capitol People First v. State Dept. of Developmental Services (2007) 155

 9 Cal.App.4th 676,689.

10          23.     Plaintiff brings this action on behalf of himself, and on behalf of all others similarly

1 1 situated. The Class consists of all persons within California that, within the applicable statute of

12 limitations period up to and including entry ofjudgment in this matter, purchased any product or

13 service in response to an offer constituting an "Automatic Renewal" as defined by § 1601(a) of

14 the ARL from Defendants, their predecessors, or their affiliates, via the website us.skinade.com

15 (the Class).

16          24.     Excluded from the Class are governmental entities, Defendants, any entity in which

17 Defendants have a controlling interest, and Defendants' officers, directors, affiliates, legal

18 representatives, employees, co-conspirators, successors, subsidiaries, and assigns, and individuals

19 bound by any prior settlement. Also excluded from the Class is any judge, justice, or judicial

20 officer presiding over this matter.

21          25.    The members of the Class are so numerous that joinder of all members is

22 impracticable. While the exact number and identities of Class members are unknown to Plaintiff

23 at this time and can only be ascertained through appropriate discovery, Plaintiff is informed and

24 believes the Class includes thousands of members. This amount likely reflects thousands ofunique

25 customers, many of them California citizens, who have signed up for Defendants' auto-renewal

26 services. Plaintiff alleges that the Class may be ascertained by the records maintained by

27 Defendants.

28


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                                               COMPLAINT
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 1         26.     Common questions of law and fact exist as to all members of the Class, and

2 predominate over any questions affecting solely individual members of the Class. Among the

3 questions of law and fact common to the Class are:
4                 (a)     Whether the website contains automatic renewal'offer terms and
                   whether said automatic renewal offer terms, if they exist, are clearly and
5                  conspicuously disclosed to users. No renewal terms are shown during the
                   checkout process. This is in violation of Cal Bus. & Prof. Code § 17601(c);
6

7                 (b)      Whether during the Relevant Period Skinade failed to present the
                   automatic renewal offer terms, or continuous service offer terms, in a clear
8                  and conspicuous manner before the subscription or purchasing agreement
                   was fulfilled and in visual proximity to the request for consent to the offer
9                  in violation of Cal. Bus. & Prof. Code § 17602(a)(1);
10
                 (c)      Whether during the Relevant Period Skinade charged Plaintiff's and
11                Class Members' Payment Method(s) for an automatic renewal or
                  continuous service without first obtaining Plaintiff's and Class Members'
12                affirmative consent to the automatic renewal offer terms or continuous
                  service offer terms in violation of Cal. Bus. & Prof Code § 17602(a)(2);
13
                  (d)      Whether during the Relevant Period Skinade failed to provide an
14
                   acknowledgment that included the automatic renewal or continuous service
15                 offer terms, cancellation policy, and information on how to cancel in a
                   manner that is capable of being retained by Plaintiff and Class Members,in
16                 violation of Cal. Bus. & Prof Code § 17602(a)(3);
17                (e)    Whether during the Relevant Period Skinade failed to provide an
18                 acknowledgment that describes a cost-effective, timely, and easy-to-use
                   mechanism for cancellation in violation of Cal. Bus. & Prof Code §
19                 17602(b)and (c);

20                (f)     Whether Plaintiffand Class Members are entitled to injunctive relief
                   under Cal. Bus. & Prof Code § 17203;
21

22                (g)     Whether Plaintiff and Class Members are'entitled to attorneys' fees
                   and costs under California Code of Civil Procedure § 1021.5.
23
           27.     Plaintiff's claims are typical of the claims of the members of the Class, as Plaintiff
24
     and members of the Class sustained and continue to sustain injuries arising out of Defendants'
25
     conduct or omissions in violation of state law as complained of herein. Plaintiff, like all other
26
     members of the Class, claims that Defendants have violated state law by violating the ARL and
27
     UCL by, inter alia at the time of making an automatic renewal/continuous service offer, (i)
28
     operating a website that failed to contain automatic renewal offer terms and/or contained

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                                              COMPLAINT
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 1   automatic renewal offer terms that were not clearly and conspicuously disclosed to users in

 2   violation of Cal Bus. & Prof. Code § 17601(c);(ii) failing to present the terms of said offers in a

 3   clear and conspicuous manner and in visual proximity to the request for consent to the offer before

 4   the subscription or purchasing agreement was fulfilled in violation of Cal. Bus. & Prof Code §

 5   17602(a)(1); (iii) charging Plaintiffs and Class member's Payment Method(s) without first

 6   obtaining Plaintiffs and Class members' affirmative consent to the agreement containing the

 7   automatic renewal offer terms or continuous service offer terms in violation of Cal. Bus. & Prof

 8   Code § 17602(a)(2); and (iv) failing to provide an acknowledgment that includes the automatic

 9   renewal or continuous service offer terms, cancellation policy, and information regarding how to

10   cancel in a manner that is capable of being retained by the consumer in violation of Cal. Bus. &

11   Prof Code §§ 17602(a)(3), 17602(b), and 17602(c).

12         28.      Plaintiff will fairly and adequately protect the interests ofthe members ofthe Class,

13   and has retained counsel competent and experienced in class action ligation. Plaintiff has no

14   interests antagonistic to, or in conflict with, those of the Class.

15         29.      A class action is superior to other available methods for the fair and efficient

16   adjudication of the controversy, since joinder,of all members is impracticable. Furthermore,

17   because the damages suffered by the individual Class members may be relatively small, the

18   expense and burden of individual litigation make it impossible for members of the Class

19   individually to redress the wrongs done to them.

20          30.     There will be no difficulty in the management of this action as a class action.

21   Moreover,judicial economy will be served by the maintenance of this lawsuit as a class action,

22   in that it is likely to avoid the burden which would be otherwise placed upon the judicial system

23   by the filing of thousands of similar suits by disabled people across the California. There are no

24   obstacles to effective and efficient management of the lawsuit as a class action.

25                             RELEVANT FACTUAL BACKGROUND

26 Skinade's Business

27         31.     Skinade offers, at its website, found at us.skinade.com, subscriptions for the

28 delivery of skincare oral supplement drink products, as well as related products. Slcinade


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                                                COMPLAINT
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 1   constitutes an automatic renewal and/or continuous service plan or arrangement pursuant to the

 2 ARL. Cal. Bus. & Prof. Code § 17601(a).

 3 Plaintiff's Subscription

 4          32.    On November 1, 2021, Plaintiff visited Defendants' website, us.skinade.com, and

 5 purchased online,"Derma Defense A&D 30 Day Supply xl"(the "Product(s)"). Plaintiff's credit

 6 card incurred an $88.77 charge (inclusive of shipping and taxes)for the purchase of the Products.

 7          33.    Also on November 1, 2021, after placing his order, Plaintiff received an email from

 8 Skinade ("Email 1")that confirmed Skinade had received Plaintiffs order.

 9          34.    On November 2, 2021, Plaintiff received an email from Skinade ("Email 2") that

10 indicated Plaintiff's order had shipped, and provided an order number and shipping tracking.

11          35.    Plaintiff received the first order of Products from Skinade shortly thereafter.

12          36.    On December 1, 2021, Plaintiff received an email of similar substance to Email 1

13 that indicated that a second order was placed.

14          37.    Thereafter, also on December 1, 2021, Plaintiff received an email of similar

15 substance to Email 2 that indicated a second order had shipped, and provided an order number and

16 shipping tracking.

17          38.    Shortly thereafter Plaintiff received a second order of Products from Skinade.

18          39.    From November 2021 through the present, Skinade has continually delivered the

19 Products to Plaintiff on a monthly basis.

20          40.    Because the "automatic renewal offer terms" (the "AROT") were not properly

21   disclosed Plaintiff did not understand the frequency at which he would continue to be charged

22 $88.77.

23          41.    Upon realizing the above, Plaintiff attempted to cancel his subscription online, but

24 was unable to do so as Skinade does not provide adequate information regarding their online

25 method of termination for its auto renewal or continuous service programs. Plaintiff is currently

26 being charged $88.77 per month by Defendants for services he does not wish to receive.

27

28


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                                               COMPLAINT
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 1          42.     As a result of Skinade not properly displaying the AROT at the time of purchase,

 2 or providing the AROT in subsequent mails, Plaintiff, unbeknownst to his, incurred at least five

 3 (5) monthly charges of$88.77 for Products he did not wish to receive.

 4    ARL VIOLATION 1 — Skinade Fails to Disclose the Automatic Renewal Offer Terms in a
          Clear and Conspicuous Manner in Violation of Cal. Bus.& Prof. Code 4 17601
 5
            43.     Skinade is required to "clearly and conspicuously" disclose the AROT, and said
 6
     AROT must contain specific informational disclosures. See, Cal. Bus. & Prof. Code § 17601.
 7
     Throughout the Relevant Period, Skinade has failed to meet this requirement. Specifically,
 8
     Defendant's website, us.skinade.com, does not appear to contain any AROT, or terms of similar
 9
     nature, anywhere on the website. Neither the "Terms & Conditions" page nor the "FAQs" page
10
     of Defendant's website (nor anywhere else on Defendant's website accessible to potential
11
     customers) contain any relevant information regarding Defendants automatic renewal/continuous
12
     service program, much less the information required ofit by the ARL. Consequently, such relevant
13
     AROT information is not clearly and conspicuously disclosed at the point of sale. Specifically
14
     there is no information present at the point of sale regarding (i) the term ofthe subscription or that
15
     it will continue until the customer cancels it, (ii) the description of the cancellation policy that
16
     applies to the offer,(iii) the recurring charges applicable including ifthat amount may change;(iv)
17
     the length of the automatic renewal term or if it is continuous; or (v) any applicable minimum
18
     purchase obligation. See, Cal. Bus. & Prof. Code § 17601(b).
19
      ARL VIOLATION 2— Skinade Fails to Present the Automatic Renewal Offer Terms in a
20
       Clear and Conspicuous Manner Before the Subscription or Purchasing Agreement is
21         Fulfilled and in Visual Proximity to the Request for Consent to the Offer in
                        Violation of Cal. Bus. & Prof: Code & 17602(a)(1)
22
            44.     Skinade is required to "clearly and conspicuously" disclose the AROT on the
23
     checkout screen. See, Cal. Bus. & Prof. Code § 17602(a)(1). Skinade does not do this. In fact, at
24
     the checkout page of us.skinade.com there is no reference Whatsoever to the AROT.
25
            45.     Notably, as indicated above, there does not appear to be any complete AROT
26
     anywhere on Defendant's website.
27
            46.     Specifically there is no information present at the point of sale, or anywhere else
28
     on Defendant's website, regarding (i) the term of the subscription or that it will continue until the

                                                   - 11 -
                                                COMPLAINT
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 1   customer cancels it,(ii) the description of the cancellation policy that applies to the offer,(iii) the

 2 recurring charges applicable including if that amount may change;(iv)the length of the automatic

 3 renewal term or if it is continuous; or(v)any applicable minimum purchase obligation. See, Cal.

 4 Bus. & Prof. Code § 17601(b).

 5               47.               Notably, the AROT are not displayed in a "clear and conspicuous" manner that

 6 clearly calls attention to the language before the subscription or purchasing agreement is fulfilled

 7 and in visual proximity thereto. In order to properly comply with the terms of the ARL, Skinade

 8 should put the information required by Cal. Bus. & Prof. Code § 17601(b) and place it directly on

 9 the checkout screen in a manner designed to draw attention of the consumer.

10

11

12

13
                                                                           Order Summary
14
      Thank You For Your Purchase!                                                       Derma Defense A&D 30 Day Suppry x
                                                                                                                             370.00
                                                                                         Every 1 Month()
15      MAC yeelOr yOte etteCeplon 0001


                 01001 040058

16
               Continue Slximing
                                                                           Submial                                           S70.00

17              Gi Peel receipt                                            Shipping                                          013.00
                                                                           Taxes                                              $0.00

18                                                                         Total                                             $8100



19
                                                                           Payment Due                               $83.00
20

21

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                                                              - 12 -
                                                           COMPLAINT
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 1      ARL VIOLATION 3— Skinade Fails to Obtain Affirmative Consent to the Automatic
       Renewal Offer Terms Before the Subscription or Purchasing Agreement is Fulfilled and
 2                 Charged to the Plaintiff and Other Consumers in Violation of
                               Cal. Bus. & Prof. Code § 17602(a)(2)
 3

 4          48.     Skinade is required to obtain the "consumer's affirmative consent to the agreement

 5 containing the automatic renewal offer terms", and must obtain such affirmative consent before

 6 charging the consumer's Payment Method.

 7          49.     "Affirmative consent" is an express act such as a check-box or similar

 8 button/mechanism that must be chosen/selected before the purchase order can be

 9 submitted/completed.'

10          50.     Again, at checkout, us.skinade.com only provides no statements whatsoever

1 1 regarding the AROT or that the user is entering into a subscription or automatic renewal service.

12 In addition, us.skinade.com fails to provide any check-box or similar mechanism to indicate that

13 the consumer has read, understood and has affirmatively consented to the AROT or that the

14 customer has agreed to the websites Terms and Conditions.

15          51.     As a result, during the Relevant Period, prior to charging Plaintiff's and Class

16 members' Payment Method(s), Defendants failed to obtain Plaintiff's and Class members'

17

18

19

20

21
     I California courts have provided judicial guidance as to what constitues "affirmative consent"
22   under the ARL. In both eHarmony and Beachboy, California courts have taken the position that
     affirmative consent under the ARL must be obtained through an "express act" by the consumer to
23   consent to the terms of the automatic renewal contract. In the final judgment against Beachbody,
     the court held that "consent is obtained by an express act by the consumer through a check-box,
     signature, express consent button or other substantially similar mechanism that consumers must
24
     select to give their consent. This mechanism cannot relate to consent for anything other than the
     automatice renewal or continuous service offer terms." People of the State of California v
25
     Beachbody LLC, Case No. 55029222, Superior Court for the State of California, Los Angeles
     County (Aug. 24, 2017). Similarly, in the final judgment against eHarmony the court reiterated
26
     this position stating that "consent is obtained by an express act by the consumer through a check-
27   box, signature, or other substantially similar mechanism that consumers must affirmatively select
     or sign to accept the AUTOMATIC RENEWAL OFFER TERMS and no other part of the
     transaction." People ofthe State ofCalifornia v eHarmony Inc., Case No. 17-cv-03314, Superior
28
     Court for the State of California, County of Santa Cruz(Jan. 8, 2018).


                                                 - 13 -
                                              COMPLAINT
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 1 affirmative consent to the automatic renewal/continuous service offer terms as required by Cal.

 2 Bus. & Prof. Code § 17602(a)(2).
 3           52.     Because of Defendants' failure to gather affirmative consent to the automatic
 4 renewal terms, all goods, wares, merchandise, or products sent to Plaintiff and Class members

 5 under the automatic renewal/continuous service agreement are deemed to be an unconditional gift

6 pursuant to Cal. Bus. & Prof Code § 17603, and Plaintiff and Class members may use or dispose

 7 of the same in any manner they see fit without any obligation whatsoeever on their part to

 8 Defendants, including, but not limited to, bearing the cost of, or responsibility for, shipping any
9 goods, wares, merchandise or products.

10
             ARL VIOLATION 4— Skinade Box Failed to Provide an Acknowledgment as
11             ' Required by Cal. Bus.& Prof. Code 4 17602(a)(3) and 17602(b)
12
             53.     Furthermore, and in addition to the above, after Plaintiff and Class members
13
     subscribed to us.skinade.com, Defendants sent to Plaintiff and Class members email follow-ups to
14
     their purchases, but has failed, and continues to fail, to provide an acknowledgment that includes
15
     the automatic renewal offer terms or continuous service offer terms, cancellation policy, and
16
     information regarding how to cancel in a manner that is capable of being retained by Plaintiff and
17
     Class members in violation of Cal. Bus. & Prof Code § 17602(a)(3), and 17602(b).
18
                                       FIRST CAUSE OF ACTION
19
          Violation of the Unfair Competition Law -(Cal. Bus. & Prof. Code § 17200 et seq.)
20
            54.      Plaintiff incorporates by reference the above allegations set forth in the Complaint
21
     as iffully set forth herein.
22
             55.     The UCL prohibits unfair competition in the form of any "unlawful, unfair or
23
     fraudulent business act or practice." See, Cal. Bus. & Prof Code § 17200.
24
             56.     The UCL permits "a person who has suffered injury in fact and has lost money or
25
     property" to prosecute a civil action for violation of the UCL. This civil action may be brought
26
     individually or on behalfofthe injured individual and all others similarly situated who are affected
27
     by the unlawful and/or unfair business practice or act. See, Cal. Bus. & Prof Code § 17204.
28


                                                  - 14 -
                                               COMPLAINT
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 1            57.    Since November 1, 2017, and continuing through and including the Relevant

 2 Period, Skinade has committed unlawful and/or unfair business acts or practices as defined by the

 3 UCL,by violating the ARL,specifically, Cal. Bus.& Prof. Code §§ 17602(a)(1)-(3) and 17602(b).

 4 The public policy underlying a UCL action under the unfair prong of the UCL is tethered to a

 5 specific statutory provision. See, Cal. Bus. & Prof. Code §§ 17600, 17602. In addition, besides

 6 offending an established public policy, Defendants' acts or practices are immoral, unethical,

 7 oppressive, unscrupulous or substantially injurious to consumers.              Further, the utility of

 8 Defendants' conduct is outweighed by the gravity of the harm to Plaintiff and Class members.

 9            58.    Plaintiff has standing to pursue this claim because he suffered injury in fact and has

10 lost money or property as a result of Defendants' actions as set forth herein. Plaintiff purchased

1 1 Skinade's Products for personal and/or family purposes/use.

12            59.    Plaintiff and similarly situated Class members are entitled to enforce all applicable

13 penalty provisions pursuant to Cal. Bus. & Prof. Code § 17202, and to obtain injunctive relief

14 pursuant to Cal. Bus. & Prof. Code § 17203.

15            60.    Plaintiff has assumed the responsibility of enforcement of the laws and public

16 policies specified herein by suing on behalf of himself and others similarly situated. Plaintiff's

17 success in this action will enforce important rights affecting the public interest. Plaintiff will incur

18 a financial burden in pursuing this action in the public interest. An award ofreasonable attorneys'

19 fees to Plaintiff is thus appropriate pursuant to California Code of Civil Procedure § 1021.5.

20            61.    Plaintiff, on behalf of himself and Class members, requests relief as described

21   below.

22                                        PRAYER FOR RELIEF

23            WHEREFORE,Plaintiff demandsjudgment against Defendants and requests the following

24 relief:

25            A.     That this Court Order a preliminary and permanent injunction

26            enjoining Defendants from violating the UCL,Bus.& Prof. Code §§ 17200

27            et seq. and the ARL §§ 17600 et seq.;

28


                                                   - 15 -
                                                COMPLAINT
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 1       B.     That this Court find and declare that Defendants have violated Cal.

 2       Bus. & Prof. Code § 17602(a)(1) by failing to present relevant automatic
 3       renewal offer terms in a clear and conspicuous manner and in the visual
 4       proximity to the request for consent to the offer before the subscription or
 5       purchasing agreement was fulfilled;
6        C.     That this Court find and declare that Defendants have violated Cal.
 7       Bus. & Prof. Code § 17602(a)(2) by charging Plaintiff's and Class
 8       Members'Payment Method without first obtaining their affirmative consent
 9       to the automatic renewal offer terms or continuous service terms;
10       D.     That this Court find and declare that Defendants have violated Cal.
11       Bus. & Prof. Code § 17602(a)(3) by failing to provide an acknowledgment
12       that includes the automatic renewal or continuous service offer terms and
13       cancellation policy;
14       E.     That this Court find and declare that Defendants have violated Cal.

15       Bus. & Prof. Code § 17602(b)by failing to provide an acknowledgment that
16       describes a toll-free telephone number, electronic mail address, a postal
17       address only when the seller directly bills the consumer, or another cost-
18       effective, timely, and easy-to-use mechanism for cancellation;
19       F.     That this Court find and declare that Defendants have violated the
20       UCL and committed unfair and unlawful business practices by violating
21       Cal. Bus. & Prof. Code § 1702;
22       G.     That this Court Order a preliminary and permanent injunction

23       requiring Defendants to take the steps necessary to bring us.skinade.com

24       into compliance with the ARL;

25      H.      That this Court award reasonable attorneys' fees and costs and other

26       expenses of suit pursuant to California Code of Civil Procedure § 1021.5,

27       and/or other applicable law; and

28


                                               - 16 -
                                            COMPLAINT
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          I.     That this Court awards such other and further relief as it deems
 2 1      necessary,just, proper, and appropriate.
 3                                DEMAND FOR JURY TRIAL
 4        Plaintiff hereby demands ajury on all issues which can be heard by a jury.
 5
 6 Dated: March 3,2021                         BRODSKY SMITH
 7
                                               By:f         T
 8                                             5van .Smith(SBN242352)
 9                                             Ryan P. Cardona(SBN302113)
                                               9595 Wilshire Boulevard, Suite 900
10                                             Beverly Hills, CA 90212
                                               Telephone: (877)534-2590
11                                             Facsimile:     (310)247-0160
12                                             Attorneysfor Plaintiff
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                   Superior Court of California, County of Los Angeles


                        ALTERNATIVE DISPUTE RESOLUTION (ADR)
                               INFORMATION PACKAGE

 THE PLAINTIFF MUST•SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



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   For Mandatory Use
                                                                                                                  Page 1 of 2
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                                 How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

                   • ADR Services,Inc. Case Manager Elizabeth Sanchez, eliza beth@ a drservices.com
                     (949)863-9800
                   • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                   • Mediation Center of Los Angeles Program Manager info@mediationLA.org
                     (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
              https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
               should carefully review the Notice and other information they may receive about(ODR)
               requirements for their case.

          c. Mediators and ADR and Bar orga nizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration,any party can request a
      trial after the arbitrator's decision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.oredivision/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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                                     VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                        The Early Organizational Meeting Stipulation, Discovery
                                     Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                                     voluntary stipulations entered into by the parties. The parties
                                     may enter into one, two, or all three of the stipulations;
                                     however, they may not alter the stipulations as written,
 LACBA                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                      These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                                     between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section               manner that promotes economic case resolution and judicial
                                     efficiency.
             .t.,.$?Frtfro
              Al Leo AN:Ott(

Consumer Attorneys
                                 n
                                         The following 'organizations endorse the goal of
Association of Los Angeles           promoting efficiency in litigation and ask that .counsel
                                     consider using these stipulations as a voluntary way to
                                     promote communications and procedures . among counsel
     r
     ‘
      A   ctrri                      and with the court to fairly resolve issues in their cases.
                         tt—
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  -et &Letit 44.-przt
                                     •Los Angeles County Bar Association Litigation Section*
Southern California
Defense Counsel
                                              •Los Angeles County Bar Association
                WU 1.116
ASSOCLUMM Of OMNI
                                                   Labor and Employment Law Section*
       alb      tosmcitis

Association of
Business Trial Lawyers                  *Consumer Attorneys Association of Los Angeles*


                                              *Southern California Defense Counsel*


                                             *Association of Business Trial Lawyers*
   ZAPEELA
      it4L036Nispiceost
California Employment
Lawyers Association
                                          *California Employment Lawyers Association*


     LACIV 230(NEW)
     LASC Approved 4-11
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from,the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229(Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                     Page 1 of 2
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               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourtorq under "Civil" and then under "General Information").

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                             for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourtom under "Civil",
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:

                 (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
_Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


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LASC Approved 04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING                                  Page 2 of 2
    Print           I         Save                                                                (     clear
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




                   )

         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery, motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing,set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                              " File a Request for Informal Discovery Conference with the clerk's office on the
                                approved form (copy attached) and deliver a courtesy, conformed copy to the
                                assigned department;

                                Include a brief summary of the dispute and specify the relief requested; and

                       iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                                that ensures that the opposing party receives the Request for Informal Discovery
                                Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                        i.      Also be filed on the approved form (copy attached);

                                Include a brief summary of why the requested relief should be denied;
      LACIV 036(new)
      LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                   Page,1 of 3
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SHORT TITLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than,the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

     e. If the conference is not held within twenty (20) days of the filing of the Request for
        I nformal Discovery Conference, unless extended by agreement of the parties and the
        Court, then the Request for the Informal Discovery Conference shall be deemed to have
        been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

     It is the understanding and intent of the parties that this stipulation shall, for each discovery
     dispute to which it applies, constitute a writing memorializing a "specific later date to which
     the propounding [or demanding or requesting] party and the responding party have agreed in
     writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
     2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



LACIV 036(new)
LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
For Optional Use                                                                              Page 2 of 3
Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 40 of 70 Page ID #:49
SHORT TITLE:                                                      CASE NUMBER:




The following parties stipulate:

Date:

                 (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
Date:

                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
Date:
                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR
Date:
                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR




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LACIV 036(new)
LASC Approved 04/11            STIPULATION — DISCOVERY RESOLUTION
For Optional Use                                                                           Page 3 of 3
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 41 of 70 Page ID #:50



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                     Reserved for Clerk's File Stamp




                 '



          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:
                                                                           /

DEFENDANT:
                                                                                            l
                                                                                                   CASE NUMBER:
                    INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                    Request for Informal Discovery Conference
                    Answer to Request for Informal Discovery Conference
      2: Deadline for Court to decide on Request:                    (insert date 10 calendar days following filing of
             the Request).
      3. Deadline for Court to hold Informal Discovery Conference:                                            (insert date 20 calendar
             days following filing of the Request).
      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery. Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094(new)
      LASC Approved 04/11
                                              INFORMAL DISCOVERY CONFERENCE
      For Optional Use                . (pursuant to the Discovery Resolution Stipulation of the parties)
           Print                        Save    I                                                                                 Clear
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 42 of 70 Page ID #:51



NAME AND ADDRESS OF ATTORNEY OR PARTY VVITHOUT ATTORNEY:                STATE BAR NUMBER                    Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                   FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):                                                                                            •
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:                                                                                     •
                                                                                           -

DEFENDANT:

                                                                                                   CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be,filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075(new)
      LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
      For Optional Use                                                                                                            Page 1 of 2
Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 43 of 70 Page ID #:52
SHORT TITLE:                                                  CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:                 (

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT), '
Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR



THE COURT SO ORDERS.

  Date:
                                                               JUDICIAL OFFICER




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LACIV 075(new)
LASC Approved 04/11       STIPULATION AND ORDER — MOTIONS IN LIMINE                 Page 2 of 2
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 44 of 70 Page ID #:53




 2
                                                                        FLM
                                                                     LOS A NGELES SUPERIOR COURT

 3                                                                            MAY 1 1 2011
 4                                                                      JOHN A
                                                                               CLARKE,ALERK
                                                                      BY NA
                                                                               (Wait"
 5                                                                              AVARRO,DEPUTY



 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                             FOR THE COUNTY OF LOS ANGELES
 9
       General Order Re                          )    ORDER PURSUANT TO CCP 1054(a),
10
       Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
11     Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                                 )    TO EARLY ORGANIZATIONAL
12                                               )    MEETING STIPULATION
13

14
              Whereas the Los Angeles Superior Court and the Executive Committee of the
15
       Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
       drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18     use in general jurisdiction civil litigation in Los Angeles County;
19            Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
       Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
       Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23     Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24     Employment Lawyers Association all "endorse the goal of promoting efficiency in'
25
       litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
       promote communications and procedures among counsel and with the court to fairly
27
       resolve issues in their cases;"
28

                                                   -1-

                                 ORDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 45 of 70 Page ID #:54




              Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2     cooperation among the parties at an early stage in litigation in order to achieve

 3     litigation efficiencies;
 4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
       will promote economic case resolution and judicial efficiency;
 6

 7
              Whereas, in order to promote a meaningful discussion ,of pleading issues at the

 8     Early Organizational Meeting and potentially to reduce the need for motions to
 9     challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
       Organizational Meeting before the time to respond to a complaint or cross complaint
11
       has expired;
12

13            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14     which an action is pending to extend for not more than 30 days the time to respond to
15
       a pleading "upon good cause shown";
16
              Now,therefore, this Court hereby finds that there is good cause to extend for 30
17
       days the time to respond to a complaint or to a cross complaint in any action in which
18

19     the parties have entered into the Early Organizational Meeting Stipulation. This finding

20     of good cause is based on the anticipated judicial efficiency and benefits of economic
21
       case resolution that the Early Organizational Meeting Stipulation is intended to
22
       promote.
23

24
              IT IS HEREBY ORDERED that, in any case in which the.parties have entered

25     Into an Early Organizational Meeting Stipulation, the time for a defending party to
26     respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                  -2-

                                  ORDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 46 of 70 Page ID #:55




       by Code of Civil Procedure section 1054(a) without further need of,a specific court
 1

 2     order.

 3

 4
       DATED:
 5                                              Carolyn B. KuhljSupervising Judge ofthe
                                                Civil Departments, Los Angeles Superior Court

 7

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                                                       (
                                ORDER PURSUANT TO CCP 1054(a)
    Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 47 of 70 Page ID #:56

                  Superior Court of California, County of Los Angeles


                        ALTERNATIVE DISPUTE RESOLUTION (ADR)
                               INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

               Mediation may be appropriate when the parties
                 • want to work out a solution but need help from a neutral person.
                 • have communication problems or strong emotions that interfere with resolution.
               Mediation may nOt be appropriate when the parties
                 • want a public trial and want a judge or jury to decide the outcome.
                 • lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 04/21
   For Mandatory Use
                                                                                                                Page 1 of 2
   Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 48 of 70 Page ID #:57




                                 How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

          a. The Civil Mediation Vendor Resource List
             If all parties in an active civil case agree to mediation, they may contact these organizations
             to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
             cases).

                   • ADR Services,Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                     (949)863-9800
                   • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                   • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                     (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

          b. Los Angeles County Dispute Resolution Programs
             https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

              Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
              should carefully review the Notice and other information they may receive about(ODR)
              requirements for their case.

          c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration,the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator's decision. For more information about arbitration, visit
      ht-tp://www.courts.ca.gov/programs-adr.htm

      4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR,visit http://www.courts.ca.gov/programs-adr.htm


LASC CIV 271 Rev.04/21
For Mandatory Use                                                                                           Page 2 of 2
        Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 49 of 70 Page ID #:58
                                                                                                   Reserved for Clerk's File Stamp
                 ' SUPERIOR COURT OF CALIFORNIA
                                                                                                                                         ,
                      COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                        FILED
 Spring Street Courthouse                                                                        Supatia Couti ef Cagotnia
                                                                                                  County of Las;tholes
 312 North Spring Street, Los Angeles., CA 90012
                                                                                                       03/03/2022
                   NOTICE OF CASE ASSIGNMENT                                              Weld It Cligaf,laedirlit Ceoe d Credt olCouri

                                                                                           By.              R.Laann                  Depuiy
                         UNLIMITED CIVIL CASE
                                      •
                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   22STCV07754

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                    ASSIGNED JUDGE,                      DEPT          ROOM
    V     David S. Cunningham -             11




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 03/03/2022                                                        By R. Lozano                                           ,Deputy Clerk
                (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
      Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 50 of 70 Page ID #:59
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court; Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days ofthe first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proofof service shall be filed within 90 days.

CROSS-COMPLAINTS,_
Without leave of court first being obtained, no cross-complaint May be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days ofthe filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three ofthe Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading-and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a.class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 51 of 70 Page ID #:60



                                                VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                                   The Early Organizational Meeting Stipulation, Discovery
                                                Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California                    voluntary stipulations entered into by the parties. The parties
County of Los Angeles

                                                may   enter into one, two, or all _three of the stipulations;
                                                however, they may not alter the stipulations as written,
   LACBA
      ,•••                            ;11.1
                                          .4I
                                                because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                                 These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                                                between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section                          manner that promotes economic case resolution and judicial
                                                efficiency.

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             .";ef 1.63
Consumer Attorneys
                        AnV103
                                                   The following organizations endorse            the goal of
Association of Los Angeles                      promoting 'efficiency in litigation and ask that counsel
                                                consider using these stipulations as a voluntary way to
                                                promote communications and procedures among counsel
                                                and with the court to fairly resolve issues in their cases.

                                                •Los Angeles County Bar Association Litigation Section*
Southern California
Defense Counsel
                                                         •Los Angeles County Bar Association
                                                              Labor and Employment Law Section*
                                  L
AISOCIATION 0/ 111.6idirl 1.41111t,




Association of
Business Trial Lawyers                             *Consumer Attorneys Association of Los Angeles*


                                                         *Southern California Defense Counsel*


                                                        *Association of Business Trial Lawyers*

California Employment
Lawyers Association
                                                      *California Employment Lawyers Association*


     LACIV 230(NEW)
     LASC Approved 4-11
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 52 of 70 Page ID #:61



NAME AND ADDRESS OF ATTORNEY OR PARTY VV1THOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Slamp




          TELEPHONE NO.:                                   FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                           CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

            f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
               phases of the case. Also, when and how such issues can be presented to the Court;

            9.    Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229(Rev 02/15)
      LASC Approved 04/11               STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                      Page 1 of 2
Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 53 of 70 Page ID #:62
SHORT TITLE:                                                                      CASE NUMBER:




               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourtorg under "Civil" and then under "General Information").

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                             for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.orq under "Civil',
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:

                 (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


 LACIV 229(Rev 02/15)
 LASC Approved 04/11   STIPULATION            — EARLY. ORGANIZATIONAL MEETING                           Page 2 of 2
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     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 54 of 70 Page ID #:63

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation. '

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.     File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.     Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery,Conference must:

                      i.     Also be filed on the approved form (copy attached);

                     ii.     Include a brief summary of why the requested relief should be denied;
      LACIV 036(new)
      LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                   Page 1 of 3
Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 55 of 70 Page ID #:64
SHORT TITLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

     e. If the conference is not held within twenty (20) days of the filing of the Request for
        I nformal Discovery Conference, unless extended by agreement of the parties and the
        Court, then the Request for the Informal Discovery Conference shall be deemed to have
        been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

     It is the understanding and intent of the parties that this stipulation shall, for each discovery
     dispute to which it applies, constitute a writing memorializing a "specific later date to which
     the propounding [or demanding or requesting] party and the responding party have agreed in
     writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
     2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



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For Optional Use                                                                              Page 2 of 3
    Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 56 of 70 Page ID #:65
    SHORT TITLE:                                                    CASE NUMBER:




                                                          •

    The following parties stipulate:

    Date:

                   (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
;   Date:

                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
    Date:
                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
    Date:
                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR
    Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR
    Date:
                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR




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    LACIV 036(new)
    LASC Approved 04/11           STIPULATION — DISCOVERY RESOLUTION
    For Optional Use                                                                          Page 3 of 3
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 57 of 70 Page ID #:66



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                        Reserved for Clerk's File Stamp




                                \
                                )

         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:
                                                                                                                            ,
                                                                                                     CASE NUMBER:
                    INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
            111    Request for Informal Discovery Conference
            111    Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).
      3. Deadline for Court to hold Informal Discovery Conference:                                               (insert date 20 calendar
             days following filing of the Request).
      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094(new)
      LASC Approved 04/11
                                              INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
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     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 58 of 70 Page ID #:67



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075(new)
      LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
      For Optional Use                                                                                                   Page 1 of 2
Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 59 of 70 Page ID #:68
SHORT TITLE:                                                 CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR



THE COURT SO ORDERS.

  Date:
                                                              JUDICIAL OFFICER




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LASC Approved 04/11      STIPULATION AND ORDER — MOTIONS IN LIMINE                   -   Page 2 of 2
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     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 60 of 70 Page ID #:69




                                                                      • FILE,
                                                                     LOS ANGELES SUPERIOR COURT

 3                                                                            MAY 1 1. 2011
 4                                                                         JOHN A
                                                                                AtCLARKE,M.BRK
                                                                      BY          ateutY
 5                                                                         NA1bYJAVARRO,DEPUTY



                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                             FOR THE COUNTY OF LOS ANGELES


       General Order Re                          )    ORDER PURSUANT TO CCP 1054(a),
1,0
       Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
11     Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                                 )    TO EARLY ORGANIZATIONAL
12                                               )    MEETING STIPULATION
13

•14
            'Whereas the Los Angeles Superior Court and the Executive Committee of the
15
       Litigation ,Section of the Los Angeles County Bar Association have cooperated in
16

17
       drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18     use in general jurisdiction civil litigation in Los Angeles County;
19            Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
       Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
       Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23     Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24     Employment Lamers Association 'all "endorse the goal ofpromoting efficiency in
25
       litigation, and ask that counsel consider using these stipulations as a voluntary way to
26.
       promote communications and procedures among counsel and with the court to fairly
27
       resolve issues in their cases;"
28'

                                                   -1-

                                 ORDER PURSUANT TO CCP 1054(a)
          Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 61 of 70 Page ID #:70
r.


                   Whereas the Early Organizational Meeting Stipulation is intended to encourage
      1

      2     cooperation among the parties at an early stage in litigation in order to achieve

      3     litigation efficiencies;
      4
                   Whereas it is intended that use of the Early Organizational Meeting Stipulation
      5
            Will promote economic case resolution and judicial efficiency;
      6
                   Whereas, in order to promote a meaningful discussion of pleading issues at the

      8     Early Organizational Meeting and potentially to reduce the need for motions to
      9     challenge the pleadings, it is necessary to allow additional time to conduct the Early
     10
            Organizational Meeting before the time to respond to a complaint or cross complaint
     11
            has expired;
     12

     13            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

     14     Which an action is pending to extend for not more than 30 days the time to respond to
     15
            a pleading "upon good cause shown";
     16
                   Now, therefore, this Court hereby finds that there is good cause to extend for 30
     17
            days the time to respcind to a complaint or to a cross complaint in any action in which
     18

     19     the parties have entered into the Early Organizational Meeting Stipulation. This finding

     20     of good cause is based on the anticipated judicial efficiency and benefits of economic
     21
            case reSolution that the Early Organizational Meeting Stipulation is intended to
     22
            promote.
     23

     24
                   IT IS HEREBY ORDERED that, in any case in which the parties have entered

     25     into an Early Organizational Meeting Stipulation, the time for a defending party to
     26     respond to a complaint or cross complaint shall be extended by the 30 days permitted
     27

     28

                                                       -2-

                                       ORDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 62 of 70 Page ID #:71




       by Code, of Civil Procedure section -1054(a) without further need Of a specific court

  2'   order.

  3

  4

                                                 Carolyn B. Ktth Supervising-Judge ofthe
                                                 Civil Departments,Los Angeles Superior Court
 6:
  7




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                                ORDER PURSUANT TO CC? 1054(a)
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 63 of 70 Page ID #:72
                                                                                                 2019-GEN-014-00

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                                                                              Superior Court of Calibrnia
 1                                                                               County of Los Angeles

2                                                                                  MAY 14 2019
                                                                          Sherri Carter,Ex dive Officer/Clerk
3
                                                                           By       '              ,Deputy
4                                                                                   aiinda Mina

5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                    FOR THE COUNTY OF LOS ANGELES
7

8     IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
      — MANDATORY ELECTRONIC FILING )
9     FOR CIVIL
10

11

12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13    documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15    Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16 , All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17    following:

18    1) DEFINITIONS
19       a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20           quickly locate and navigate to a designated point of interest within a document.
21       b) "Efiling Portal" The official court website includes a webpage,referred to as the efiling
22           portal, that gives litigants access to the approved Electronic Filing Service Providers.

23       c) "Electronic Envelope" A transaction through the electronic service provider for submission

24           of documents to the Court for processing which may contain one or more PDF documents
25           attached.

26       d) "Electronic Filing" Electronic Filing (eFiling)is the electronic transmission to a Court of a
27           document in electronic form.(California Rules of Court; rule 2.250(b)(7).)

28


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 64 of 70 Page ID #:73
                                                                                                2019-GEN-014-00




         ) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
2           person or entity that receives an electronic filing from a party for retransmission to the Court.
3           In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5        f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6           Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7           (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8           2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
9           process attached to or logically associated with an electronic record and executed or adopted
10          by a person with the intent to sign the electronic record.
11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12          in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,
14          formatting, colors and graphics of the original source document,regardless of the application
15          platform used.

16    2 MANDATORY ELECTRONIC FILING
17       a) Trial Court Records
18          Pursuant to Government Code section 68150, trial court records may be created, maintained,
19          and preserved in electronic format. Any document that the Court receives electronically must
20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22       b) Represented Litigants
23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24          electronically file documents with the Court through an approved EFSP.
25       c) Public Notice
26          The Court has issued a Public Notice with effective dates the Court required parties to
27          electronically file documents through one or more approved EFSPs. Public Notices containing

28          effective dates and the list of EFSPs are available on the Court's website, at w w w.lacourt.org.


                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1          d) Documents in Related Cases
2             Documents in related cases must be electronically filed in the eFiling portal for that case type if
3             electronic filing has been implemented in that case type, regardless of whether the case has
4             been related to a Civil case.
5          EXEMPT LITIGANTS
6          a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7             from mandatory electronic filing requirements.
8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (c1(3) and California Rules of
9             Court, rule 2.253(b)(4), any party may make applica'tion to the Court requesting to be excused
10            from filing documents electronically and be permitted to file documents by conventional
11             means if the party shows undue hardship or significant prejudice.

12    4 EXEMPT FILINGS
13         a) The following documents shall not be filed electronically:
14            i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                  Civil Procedure sections 170.6 or 170.3;
16            ii)   Bonds/Undertaking documents;
17            iii) Trial and Evidentiary Hearing Exhibits
18            iv) Any ex parte application that is filed concurrently with a new complaint including those
19                  that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20             v)   Documents submitted conditionally under seal. The actual motion or application shall be
21                  electronically filed. A courtesy copy of the electronically filed motion or application to
22                  submit documents conditionally under seal must be provided with the documents
23                  submitted conditionally under seal.
24         b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26    paper form. The actual document entitled,"Notice of Lodgment," shall be filed electronically.
27

28    /1


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1     ) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
 2        Electronic filing service providers must obtain and manage registration information for persons
 3        and entities electronically filing with the court.
 4 6) TECHNICAL REQUIREMENTS

 5        a) Electronic documents must be electronically filed in PDF,text searchable format when
 6             technologically feasible without impairment of the document's image.
 7        b) The table of contents for any filing must be bookmarked.
 8        c) Electronic documents,including but not limited to, declarations, proofs of service, and
 9             exhibits, must be bookmarked -Within the document pursuant to California Rules of Court, rule
10             3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11             item (e:g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12             bookedmarked item and briefly describe the item.
13        d) Attachments to primary documents must be bookmarked. Examples include, but are not
14             limited to, the following:
,15            i)    Depositions;
16             ii)   Declarations;
17             iii) Exhibits (including exhibits to declarations);
18             iv) Transcripts (including excerpts within transcripts);
19             v)    Points and Authorities;
20             vi)   Citations; and
21             vii) Supporting Briefs.
22        e) Use of hyperlinks within documents(including attachments and exhibits) is strongly
23             encouraged.
24             Accompanying Documents
25             Each document acompanying a single pleading must be electronically filed as a separate
264            digital PDF document.
27:      .g)   Multiple Documents
28             Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                           4
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 67 of 70 Page ID #:76
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           h) Writs and Abstracts
 2            Writs and Abstracts must be submitted as a separate electronic envelope.
 3         i) Sealed Documents
4             If and when a judicial officer orders documents to be filed under seal, those documents must be
 5            filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6             the documents as sealed at the time of electronic submission is the submitting party's
7             responsibility.
 8         j) Redaction
9             ,Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10            redact confidential information(such as using initials for names of minors, using the last four
11     •      digits of a social security number, and using the year for date of birth) so that the information
12            shall not be publicly displayed.
13 ,7 ELECTRONIC FILING SCHEDULE

14         a) Filed Date
15 .          i) Any document received electronically by the court between 12:00 am and 1°1:59:59 pm
16     •          shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17                document received electronically on a non-court day, is deemed to have been effectively
18'               filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19 •              Civ. Proc. § 1010.6(b)(3).)
20            ii) Notwithstanding any other provision of this order,if a digital document is not filed in due.
21                course because of: (1) an interruption in service;(2) a transmission error that is not the
22                fault of the transmitter; or(3) a processing failure that occurs after receipt, the Court may
23                order, either on its own motion or by noticed motion submitted with a declaration for Court
24                consideration, that the document be deemed filed and/or that the document's filing date
25                conform to the attempted transmission date.

26     8) EX PARTE APPLICATIONS
27         a) Ex parte applications and all documents in support thereof must be electronically filed no later
28            than 10:00 a.m. the court'day.before the ex parte hearing.


                          FIRST AMENDED GENERAL-ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 68 of 70 Page ID #:77
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         b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2           day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3           application must be provided to the court the day of the ex parte hearing.
4     9) PRINTED COURTESY COPIES

         a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7           the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8           by 10:00 a.m. the next business day.
9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission) is required for the following documents:
11           i)   Any printed document required pursuant to a Standing or General Order;
12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                pages or more;
14         iii)   Pleadings and motions that include points and authorities;
15         iv)    Demurrers;
16          v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)   Motions for Summary Judgment/Adjudication; and
18         vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under "Courtroom Information."
22    0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24          received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25           1010.6(d)(2).)

26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27          section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(0, may be
28          electronically filed in any authorized action or proceeding.


                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                      •

       ) SIGNATURES ON ELECTRONIC FILING
2        For purposes of this General Order, all electronic filings must be in compliance with California
3        Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4        Division of the Los Angeles County Superior Court.
5

6            This First Amended General Order supersedes'any previous order related to electronic filing,
7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8     Supervising Judge and/or Presiding Judge.
9

10    DATED: May 3, 2019
                                                           KEVIN C. BRAZILE
11
                                                           Presiding Judge
12

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:22-cv-02322-GW-MAA Document 1-1 Filed 04/06/22 Page 70 of 70 Page ID #:79



 1                                           PROOF OF SERVICE

 2           I am a citizen of the United States and resident of the State of California. I am employed in
     Los Angeles, State of California, in the office of a member of the bar of this Court, at whose direction
 3   the service was made. I am over the age of eighteen years and not a party to the within action.

 4           On April 6, 2022, I served the following documents in the manner described below:

 5   DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§1332 AND 1441;
     DECLARATION OF MARYAM DANISHWAR
 6
               (BY U.S. MAIL) I am personally and readily familiar with the business practice of
 7            Clark Hill LLP for collection and processing of correspondence for mailing with the
               United States Parcel Service, and I caused such envelope(s) with postage thereon fully
 8             prepaid to be placed in the United States Postal Service at Los Angeles, California.

 9             (BY OVERNIGHT MAIL) I am personally and readily familiar with the business
              practice of Clark Hill LLP for collection and processing of correspondence for overnight
10             delivery, and I caused such document(s) described herein to be deposited for delivery to
               a facility regularly maintained by Federal Express for overnight delivery.
11
               BY ELECTRONIC SERVICE: By electronically mailing a true and correct copy
12            through Clark Hill LLP’s electronic mail system from mdanishwar@ClarkHill.com to
               the email addresses set forth below.
13
               (BY PERSONAL DELIVERY) I caused such envelope to be delivered by hand to the
14            offices of each addressee below.

15
     On the following part(ies) in this action:
16
      Evan J. Smith, Esq.                                Email: esmith@brodskysmith.com
17    Ryan P. Cardona, Esq.                              rcardona@brodskysmith.com
      Brodsky Smith
18    9595 Wilshire Blvd., Suite 900                     Attorneys for Plaintiff
      Beverly Hills, CA 90212
19    Tel: (877) 534-2590
      Fax: (310) 247-0160
20
              I declare under penalty of perjury under the laws of the State of California that the foregoing
21   is true and correct.

22           Executed on April 6, 2022, at Los Angeles, California.

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     _______________________________________
               Hiba Hammad


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            DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§1332 AND 1441; DECLARATION OF
                                         MARYAM DANISHWAR
